       Case 1:21-cr-00507-PLF      Document 120      Filed 11/18/24   Page 1 of 7



                       UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA
                      __________________________________
                                               )
UNITED STATES OF AMERICA                       )
                                               )
                           v.                  ) Criminal No. 21-0507 (PLF)
                                               )
STEPHANIE MARYLOU BAEZ,                        )
                                               )
                           Defendant.          )


                   DEFENDANT MOTION TO CONTIUE TRIAL



      COMES NOW, Stephanie Marylou Baez (“Baez”), by and through counsel,

with this Motion to continue all matters in this trial due to the results of the United

States Presidential Elections on November 5th. The Defendant stands accused of

1512 (c) (2). Trial is currently scheduled for December 3, 2024. The Defendant has

been awaiting trial on pretrial release conditions, all of which have been

scrupulously complied with. The Defendant seeks a short continuance of trial based

upon the recent election of President-elect Trump who has repeatedly vowed to

pardon January 6 defendants like him. Prior to
      Case 1:21-cr-00507-PLF     Document 120      Filed 11/18/24   Page 2 of 7




filing the instant motion, undersigned counsel contacted counsel for the government,

who states that the government is opposed to this motion.

                              LEGAL ARGUMENT

       On November 5, 2024, Donald Trump won the 2024 presidential election in

a landslide. By all accounts, the election was free of fraud or “rigging.”

Consequently, on January 20, 2025, power will be peacefully transferred to him and

Donald Trump will then be sworn in as the 47th President of the United States.

      Under Article II, Section 2, Clause 1 of the U.S. Constitution, the president of

the United States is authorized by the U.S. Constitution to grant a pardon for federal

crimes as charged here. Other forms of the clemency power of the president include

the commutation of sentence, remission of fine or restitution, and reprieve.

      Pursuant to Ex Parte Garland, 71 U.S. 333 (1866), the President’s authority

to pardon is unlimited (except in cases of impeachment), extending to every federal

offense known to the law. This presidential power can be exercised either before

legal proceedings are taken, or during their pendency, or after conviction and

judgment.

      President-elect Trump has repeatedly vowed to pardon January 6 defendants.

He has referred to them as “unbelievable patriots.” As early as September 2022,

in an interview with conservative Pittsburgh broadcaster Wendy Bell, former
      Case 1:21-cr-00507-PLF    Document 120     Filed 11/18/24   Page 3 of 7




President Trump said — if he becomes president again — he would issue full

pardons and an apology to rioters involved in the January 6, 2021, protests at the

U.S. Capitol. “We’ll be looking very, very seriously at full pardons because we

can’t let that happen,” Trump told Bell. “And I mean full pardons. To many, an

apology. They’ve been so badly treated.” During an interview with Time

Magazine in April of this year, Trump said he would “absolutely” consider

pardoning every January 6 defendant, although, when pressed, he said “If somebody

was evil and bad, I would look at that differently.” Later, in July while at the

National Association of Black Journalists’ conference in Chicago, Trump was asked

if he would pardon rioters who assaulted police officers during January 6. His

response: “Oh, absolutely I would,” “If they are innocent, I would pardon

them…they were convicted by a very, very, tough system.” As recently as this

September, Trump said during a rally in Wisconsin that he planned to “rapidly

review the cases of every political prisoner unjustly victimized by the Harris

regime.” Undersigned Counsel was present at the Libertarian National Convention

in May of this year, when then-Candidate Trump vowed to “Pardon the Peaceful

J6’ers.”

      History has shown that President Donald Trump is not shy when it comes to

exercising his pardon powers and there is clearly no reason to believe he won’t do

as he says. During his first term of President, Trump pardoned, commuted, or

rescinded the convictions of 237 people. Many were controversial. Several were in
      Case 1:21-cr-00507-PLF     Document 120     Filed 11/18/24   Page 4 of 7




his first year in office: Joe Arpaio, pardoned August 25, 2017; Sholom Rubashkin,

27-year prison sentence commuted on December 20, 2017.

       Baez is charged with one felony count. Notably, Baez is not charged with

the use of any type of weapon on January 6. Baez appears to be a worthy candidate

for receipt of a presidential pardon and almost assuredly will receive one once the

peaceful transfer of power is complete on January 20, 2025. Like it or not,

President-elect Trump will become the President of the United States in in just

over two months. He will then be vested with a constitutional power, which he has

exercised in the past and has repeatedly vowed to exercise in the future, enabling

him to nullify these entire proceedings with the mere stroke of a pen. To have Baez

stand trial pending that exercise of presidential power, under these unique

circumstances, is simply unnecessary and a complete waste of judicial time and

resources, particularly where, as here, the Defendant used no weapon nor caused

any injury to anybody on that day.

Furthermore, the United States Department of Justice Special Counsel Jack Smith

wrote in the matter of United States v. Trump, 23-cr-00257 (TSC)

      “As a result of the election held on November 5, 2024, the

      defendant is expected to be certified as President-elect on January 6,

      2025, and inaugurated on January 20, 2025. The Government

      respectfully requests that the Court vacate the remaining deadlines in
      Case 1:21-cr-00507-PLF     Document 120      Filed 11/18/24   Page 5 of 7




      the pretrial schedule to afford the Government time to assess this

      unprecedented circumstance and determine the appropriate course

      going forward consistent with Department of Justice policy. By

      December 2, 2024, the Government will file a status report or

      otherwise inform the Court of the result of its deliberations. The

      Government has consulted with defense counsel, who do not object to

      this request.”

      Given the position now taken by the Department of Justice through Special

Counsel Jack Smith, in the interests of justice, should adopt the same position as it

has in United States v. Trump, i.e., that the unique circumstances created by the

outcome of the election justifies pausing all proceedings in this matter, with the

parties responding back to the Court with regard to how this case should further

proceed – if at all -- beginning 70 days from now, January 20, 2025.

      A continuance would conserve the resources of the Court, the

Government, and the Defendant.

      For Defendant Baez, the resources that might be expended include

personal financial costs incurred in traveling from her home to Washington

D.C., the costs of housing in connection with the trial, and the similar kinds of

costs incurred by defense counsel – most of which would be avoided by the

delay requested by this motion.
      Case 1:21-cr-00507-PLF   Document 120    Filed 11/18/24   Page 6 of 7




For the Foregoing reasons, Defendant and undersigned Counsel respectfully
request that Motion to continue all matters in this trial be granted.
November 18, 2024                          RESPECTFULLY SUBMITED,
                                           /s/ Roger Roots
                                           Roger Roots, Esq.
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      Case 1:21-cr-00507-PLF     Document 120     Filed 11/18/24   Page 7 of 7




CERTIFICATE OF SERVICE


      I hereby certify that on this date my law firm is filing the foregoing with the
Court by its ECF record-keeping and filing system, which automatically provides a
copy to all attorneys of record.


      /s/ Roger Roots


      Roger Roots
